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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10                                ----oo0oo----
11   JON-CORY SCHMIDT
                                             NO. 2:10-CV-3022 FCD/EFB
12               Plaintiff,
13        v.                                 MEMORANDUM AND ORDER
14   COUNTY OF NEVADA; NEVADA
     COUNTY SHERIFF’S OFFICE; JAMES
15   BENNETT; and DOES 1-20
     inclusive,
16
                 Defendants.
17                                ----oo0oo----
18        This matter is before the court on the motion of defendants
19   County of Nevada (“Nevada County”), Nevada County Sheriff’s
20   Office (the “Sheriff’s Office”), and James Bennet (“Bennett”)
21   (collectively, “defendants”) to dismiss plaintiff’s first amended
22   complaint pursuant to Federal Rule of Civil Procedure (“FRCP”)
23   12(b)(6).   Plaintiff Jon-Cory Schmidt (“plaintiff”) opposes the
24   motion.   For the reasons set forth below, defendants’ motion to
25   dismiss is GRANTED.1
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               Because oral argument will not be of material
     assistance, the court orders this matter submitted on the briefs.
28   E.D. Cal. L.R. 230(g).

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 1                                 BACKGROUND
 2        Plaintiff is the owner of a parcel of land located in Nevada
 3   County.   According to plaintiff, he “and nine other interested
 4   parties were in lawful possession of medical cannabis
 5   recommendations issued by licensed California Physicians.”
 6   (First Am. Compl. (“Am. Compl.”) [Docket #25], filed Apr. 13,
 7   2011, ¶ 14.)   “Pursuant to those recommendations, they cultivated
 8   a community or collaborative garden” consisting of eighty
 9   immature marijuana plants on plaintiff’s property.        (Id.)
10   Plaintiff alleges that the marijuana plants were legally
11   cultivated in compliance with California Health & Safety Code §
12   11362.5 et seq..      (Id.)
13        In September 2009, defendant Bennet, a Nevada County Deputy
14   Sheriff, filed an affidavit with Nevada County Magistrate Judge
15   Catherine Heidelberger for purposes of obtaining a warrant to
16   search the premises of plaintiff’s home.      (Id. ¶ 15.)    Judge
17   Heidelberger reviewed the affidavit, determined probable cause
18   existed, and issued the requested warrant.       (Id.)   On September
19   22, 2009, defendants executed the warrant, seizing at least
20   eighty immature marijuana plants growing on plaintiff’s property.
21   (Id. ¶ 16.)    Defendants also seized various other marijuana-
22   related contraband, including ten pounds of already cultivated
23   marijuana.    (Id.)
24        Plaintiff then filed a motion for return of the marijuana
25   and other items seized pursuant to California Penal Code §§ 1539
26   and 1540 in California Superior Court for the County of Nevada.
27   (Order [Docket #24], filed Mar. 30, 2011, at 3.)         On December 1,
28   2009, plaintiff and his attorney appeared before Judge

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 1   Heidelberger for oral argument on the motion.       (Id.)   After the
 2   hearing, Judge Heidelberger issued a written order,2 denying the
 3   motion for return of the marijuana.      (Id.)    The order explained
 4   that return of the marijuana was not warranted because plaintiff
 5   did not have legal possession.     (Id.)
 6        Plaintiff then petitioned for a writ of mandate, requesting
 7   that the appellate division of the Nevada County Superior Court
 8   vacate Judge Heidelberger’s order.      (Id.)    On April 26, 2010,
 9   Superior Court Judge C. Anders Holmer issued a written tentative
10   order on the writ.   (Id.)   According to the court, “the central
11   issue [raised by the writ] was whether or not petitioner was in
12   lawful possession of the marijuana seized.”       (Id.)   The court
13   denied the writ, holding that pursuant to relevant statutory and
14   case law, plaintiff was not in legal possession of the marijuana.
15   (Id.)    The court adopted the tentative ruling on May 26, 2010.
16   (Id.)
17        Plaintiff then filed his original complaint in this court,
18   asserting four claims for relief: (1) unlawful detention of
19   personal property; (2) declaratory relief; (3) damages for
20   violation of equal protection rights under 42 U.S.C. § 1983; and
21   (4) conversion of personal property against defendants.
22   (Original Compl., filed Oct. 12, 2010 [Docket #1], ¶¶ 19–37.)
23   Defendants moved to dismiss plaintiff’s claims for unlawful
24   detention and conversion on the grounds that the Nevada County
25   Superior Court, in two separate proceedings and two written
26
          2
               While the order denied the motion for return of the
27   marijuana and other related illegal substances, it required that
     certain items seized by Nevada County be returned to plaintiff.
28   (Order at 3.)

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 1   orders, determined that plaintiff was not in lawful possession of
 2   the marijuana.    (Order at 6.)     The court found that the doctrine
 3   of collateral estoppel barred the plaintiff from re-litigating
 4   the issue of whether he was in lawful possession of the
 5   marijuana; thus, because lawful possession was necessary to
 6   prevail on plaintiff’s claims for unlawful detention and
 7   conversion, the court dismissed these claims without leave to
 8   amend.    (Id. at 15.)   However, plaintiff was granted leave to
 9   amend his claim under 42 U.S.C. § 1983.        (Id. at 16.)
10         Plaintiff subsequently filed his first amended complaint,
11   alleging that defendants’ actions violated his constitutional
12   rights by depriving him of due process of law.         (Am. Compl. ¶¶
13   10–16.)   Plaintiff also alleges that defendants “unfairly[] and
14   discriminatorily” applied statutes, laws, ordinances, and
15   regulations against him in violation of the equal protection
16   clause.   (Id. ¶¶ 33-9–10).
17                                    STANDARD
18   A.    Subject Matter Jurisdiction
19         Federal Rule of Civil Procedure 12(b)(1) allows a court to
20   dismiss a pleading for lack of subject matter jurisdiction.           Fed.
21   R. Civ. P. 12(b)(1).     The court has an independent obligation to
22   address sua sponte whether it has subject matter jurisdiction.
23   See Allstate Ins. Co. v. Hughes, 358 F.3d 1089, 1093 (9th Cir.
24   2004) (citing United States v. Ceja-Prado, 333 F.3d 1046, 1049
25   (9th Cir. 2003)) (“The court has a continuing obligation to
26   assess its own subject matter jurisdiction, even if the issues is
27   neglected by the parties.”).       The court presumes a lack of
28   subject matter jurisdiction until it is proved otherwise.           See

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 1   Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377
 2   (1994); Stock W., Inc. v. Confederated Tribes, 873 F.2d 1221,
 3   1225 (9th Cir. 1989).
 4         The plaintiff bears the burden of proof that subject matter
 5   jurisdiction exists.     See Stock W., Inc., 873 F.2d at 1225.
 6   Where the subject matter jurisdiction analysis focuses only on
 7   the allegations of the complaint, the factual allegations of the
 8   complaint are presumed to be true, and the pleading is dismissed
 9   only if the plaintiff fails to allege an element necessary for
10   subject matter jurisdiction.       See Thornhill Publ’g Co. v. General
11   Tel. & Elecs. Corp., 594 F.2d 730, 733 (9th Cir. 1979).           A
12   complaint will be dismissed for lack of subject matter
13   jurisdiction if there is no case or controversy within the
14   meaning of that constitutional term.        Baker v. Carr, 369 U.S.
15   186, 198 (1962).
16   B.    Failure to State a Claim
17         Under Federal Rule of Civil Procedure 8(a), a pleading must
18   contain “a short and plain statement of the claim showing that
19   the pleader is entitled to relief.”        See Ashcroft v. Iqbal, 129
20   S. Ct. 1937, 1949 (2009).      Under notice pleading in federal
21   court, the complaint must “give the defendant fair notice of what
22   the claim is and the grounds upon which it rests.”          Bell Atlantic
23   v. Twombly, 550 U.S. 544, 555 (2007) (internal quotations
24   omitted).    “This simplified notice pleading standard relies on
25   liberal discovery rules and summary judgment motions to define
26   disputed facts and issues and to dispose of unmeritorious
27   claims.”    Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002).
28

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 1        On a motion to dismiss, the factual allegations of the
 2   complaint must be accepted as true.      Cruz v. Beto, 405 U.S. 319,
 3   322 (1972).   The court is bound to give plaintiff the benefit of
 4   every reasonable inference to be drawn from the “well-pleaded”
 5   allegations of the complaint.     Retail Clerks Int’l Ass’n v.
 6   Schermerhorn, 373 U.S. 746, 753 n.6 (1963).       A plaintiff need not
 7   allege “‘specific facts’ beyond those necessary to state his
 8   claim and the grounds showing entitlement to relief.”         Twombly,
 9   550 U.S. at 570.    “A claim has facial plausibility when the
10   plaintiff pleads factual content that allows the court to draw
11   the reasonable inference that the defendant is liable for the
12   misconduct alleged.”    Iqbal, 129 S. Ct. at 1949.
13        Nevertheless, the court “need not assume the truth of legal
14   conclusions cast in the form of factual allegations.”         United
15   States ex rel. Chunie v. Ringrose, 788 F.2d 638, 643 n.2 (9th
16   Cir. 1986).   While Rule 8(a) does not require detailed factual
17   allegations, “it demands more than an unadorned, the defendant-
18   unlawfully-harmed-me accusation.”      Iqbal, 129 S. Ct. at 1949.       A
19   pleading is insufficient if it offers mere “labels and
20   conclusions” or “a formulaic recitation of the elements of a
21   cause of action.”    Twombly, 550 U.S. at 555; Iqbal, 129 S. Ct. at
22   1950 (“Threadbare recitals of the elements of a cause of action,
23   supported by mere conclusory statements, do not suffice.”).
24   Moreover, it is inappropriate to assume that the plaintiff “can
25   prove facts which it has not alleged or that the defendants have
26   violated the . . . laws in ways that have not been alleged.”
27   Associated Gen. Contractors of Cal., Inc. v. Cal. State Council
28   of Carpenters, 459 U.S. 519, 526 (1983).

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 1         Ultimately, the court may not dismiss a complaint in which
 2   the plaintiff has alleged “enough facts to state a claim to
 3   relief that is plausible on its face.”        Iqbal, 129 S. Ct. at 1949
 4   (citing Twombly, 550 U.S. at 570).        Only where a plaintiff has
 5   failed to “nudge [his or her] claims across the line from
 6   conceivable to plausible,” is the complaint properly dismissed.
 7   Id. at 1952.    While the plausibility requirement is not akin to a
 8   probability requirement, it demands more than “a sheer
 9   possibility that a defendant has acted unlawfully.”          Id. at 1949.
10   This plausibility inquiry is “a context-specific task that
11   requires the reviewing court to draw on its judicial experience
12   and common sense.”     Id. at 1950.
13         In ruling upon a motion to dismiss, the court may consider
14   only the complaint, any exhibits thereto, and matters which may
15   be judicially noticed pursuant to Federal Rule of Evidence 201.
16   See Mir v. Little Co. Of Mary Hospital, 844 F.2d 646, 649 (9th
17   Cir. 1988); Isuzu Motors Ltd. v. Consumers Union of United
18   States, Inc., 12 F. Supp. 2d 1035, 1042 (C.D. Cal. 1998).
19                                    ANALYSIS
20   A.    Claims Against Nevada County and Sheriff’s Office
21         Defendants move to dismiss plaintiffs’ claims against Nevada
22   County and the Sheriff’s Office on the basis that plaintiff has
23   failed to allege an official policy, practice, or custom or facts
24   supporting such an allegation.       Plaintiff wholly fails to respond
25   to defendants’ argument in his opposition.
26         “[A] municipality cannot be held liable solely because it
27   employs a tortfeasor – or, in other words, a municipality cannot
28   be held liable under § 1983 on a respondent superior theory.”

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 1   Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978).           In
 2   order for a municipality to be held liable, it must have
 3   committed the constitutional violation pursuant to governmental
 4   custom or official municipal policy.        Id.
 5         In this case, plaintiff’s complaint is wholly bereft of any
 6   allegation that an official policy or custom was in place or that
 7   defendants acted pursuant to such an official policy or custom.
 8   Further, in the court’s previous order on defendants’ motion to
 9   dismiss, the court noted plaintiffs’ failure to identify any
10   particular policy or the application of that policy to defendant.
11   The court cautioned that such failures would prevent plaintiff
12   from withstanding a motion to dismiss for failure to state a
13   claim.    Based upon plaintiffs failure to sufficiently allege
14   facts to state a claim against municipalities and the failure to
15   address this argument in his opposition, defendants’ motion to
16   dismiss all claims against Nevada County and the Sheriff’s Office
17   is GRANTED without leave to amend.3
18   B.    Due Process Claims
19         Plaintiff’s complaint alleges Section 1983 claims against
20   defendants, asserting that defendants violated plaintiff’s
21   Fourth, Fifth, Sixth,4 and Fourteenth Amendment rights.          (Am.
22
23         3
               Further, the reasons set forth infra, plaintiff has
     failed to and cannot state viable claims under either the Due
24   Process or Equal Protection clause arising from the seizure of
     marijuana plants in this case. Accordingly, amendment would be
25   futile.
26         4
                Both plaintiff’s complaint and opposition fails to
     delineate how defendants’ allegedly violated these rights.
27   Accordingly, to the extent plaintiff was alleging § 1983 claims
     based upon these constitutional rights, such claims are
28   dismissed.

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 1   Compl. ¶ 11).   Specifically, plaintiff alleges due process
 2   violations5 based on conduct by defendants relating to: (1)
 3   preclusion of plaintiff’s ability to challenge the search
 4   warrant; (2) failure to file criminal charges; and (3)
 5   destruction of the seized marijuana.      (Id. ¶ 33-2.)     Defendants
 6   contend that plaintiff’s complaint fails to allege facts
 7   sufficient to state a claim for due process violations under
 8   Section 1983.
 9        1.    Challenge to the Search Warrant
10        Plaintiff’s first procedural due process claim asserts a
11   harm based on allegations that defendants’ conduct precluded
12   “plaintiff’s challenge to the search warrant application or
13   search warrant that has been issued.”      (Id. ¶ 33-2a.)    It is well
14   settled that there is no constitutionally protected right to
15   challenge the application for a search warrant before it is
16   issued.   See Perkins v. City of W. Covina, 113 F.3d 1004, 1010
17   (9th Cir. 1997).   Further, plaintiff has alleged no facts that he
18   was precluded from pursuing a post-deprivation remedy.         Rather,
19   the record reflects that plaintiff filed a motion for return of
20   the marijuana and other items seized pursuant to California Penal
21   Code §§ 1539 and 1540 in California Superior Court for the County
22   of Nevada and subsequently filed a writ of mandate to vacate that
23
24        5
               Plaintiff’s complaint provides that he is alleging both
     procedural and substantive due process violations. (Am. Compl. ¶
25   33-2.) However, plaintiff’s factual allegations relating to his
     due process claim raise purely procedural due process issues.
26   Moreover, plaintiff fails to raise any argument relating to
     substantive due process violations in his opposition. Therefore,
27   the court interprets plaintiff’s silence as a non-opposition to
     defendants’ motion to dismiss any potential substantive due
28   process claims.

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 1   order.       Accordingly, plaintiff cannot state a claim arising out
 2   of any alleged preclusion to the challenge of the search warrant.
 3   Therefore, defendants’ motion to dismiss this claim is GRANTED
 4   without leave to amend.
 5           2.     Failure to File Criminal Charges
 6           Plaintiff further alleges that the failure to file criminal
 7   charges against him is a violation of due process.        (Am. Compl. ¶
 8   33-2-b.)      The county district attorney is the only county
 9   official authorized to file criminal charges against an
10   individual.      Cal. Govt. Code §§ 26500, 26502 (West 2008).
11   Moreover, the district attorney has absolute immunity in deciding
12   whether to file criminal charges.        See Botello v. Gammick, 413
13   F.3d 971, 977 (9th Cir. 2005).      Here, the absence of criminal
14   charges against plaintiff is not related to any action or
15   inaction by defendants.6      Further, plaintiff fails to allege that
16   he suffered harm as a result of the failure to file criminal
17   charges.      Therefore, defendants’ motion to dismiss this claim is
18   GRANTED without leave to amend.7
19   /////
20   /////
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             6
               The court notes that plaintiff does not bring any
22   claims against the county district attorney.
23           7
               Plaintiff also alleges a due process violation arising
     out of Bennett’s “inducing the magistrate judge to deny the
24   motion for the return of the medical marijuana in the absence of
     written opposition by the People.” (Am. Compl. ¶ 33-2-f.)
25   Plaintiff’s complaint provides neither factual allegations nor
     legal support regarding how the lack of written opposition by the
26   People violated his due process rights; instead, plaintiff makes
     mere conclusory allegations insufficient to state a claim.
27   Further, he fails to address these allegations in his opposition
     to defendants’ motion to dismiss. Therefore, defendants’ motion
28   to dismiss this claim is GRANTED without leave to amend.

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 1        3.      Destruction of Marijuana and Filing of a False
                  Inventory Report
 2
 3        Plaintiff also claims due process violations based on (1)
 4   defendants’ alleged destruction of the seized marijuana without a
 5   hearing and without court order; and (2) the alleged filing of a
 6   false inventory report that failed to note that the marijuana was
 7   destroyed.    (Am. Compl. ¶¶ 33-2c–d, 2h.)     Specifically, plaintiff
 8   alleges that defendants failed to comply with applicable
 9   California Health and Safety Code and Penal Code sections.8
10        The issue of standing is a threshold determination of
11   “whether the litigant is entitled to have the court decide the
12   merits of the dispute or of particular issues.”        Warth v. Seldin,
13   422 U.S. 490, 498 (1975); Steel Co. v. Citizens For A Better
14   Env’t, 523 U.S. 83 (1998).     To establish the “irreducible
15   minimum” of Article III standing, plaintiffs must demonstrate the
16   following three elements: (1) injury-in-fact; (2) causal
17   connection; and (3) redressability.      Barnum Timber Co. v. U.S.
18   EPA, 633 F.3d 894, 897–98 (9th Cir. 2011).       To show injury-in-
19   fact, “plaintiffs must allege ‘concrete and particularized’ and
20   ‘actual or imminent’ harm to a legally protected interest.”          Id.
21   (citations omitted).
22        The Supreme Court has held that no person can have a legally
23   protected interest in contraband per se.       See United States v.
24
          8
               Under California law, unlawfully possessed marijuana
25   shall be destroyed pursuant to a court order, even in a case in
     which no criminal charges were filed. Cal. Health & Safety Code
26   § 11473.5 (West 2007). Further, under the California Penal Code,
     after an officer obtains a search warrant, the officer must
27   return the warrant to the magistrate judge and deliver to him a
     written inventory of the property seized. Cal. Penal Code § 1537
28   (West 2011).

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 1   Jeffers, 342 U.S. 48, 53 (1951); see also Cooper v. City of
 2   Greenwood, Mississippi, 904 F.2d 302, 305 (5th Cir. 1990)
 3   (“Courts will not entertain a claim contesting the confiscation
 4   of contraband per se because one cannot have a property right in
 5   that which is not subject to legal possession.”).        “An object is
 6   contraband per se if its possession, without more, constitutes a
 7   crime; or in other words, there is no legal purpose to which the
 8   object could be put.”     United States v. Harrell, 530 F.3d 1051,
 9   1057 (9th Cir. 2008).     Under the federal Controlled Substances
10   Act (“CSA”), it is illegal for any private person to possess
11   marijuana.     21 U.S.C. §§ 812(c), 841(a)(1), 844(a).      Thus, under
12   federal law, marijuana is contraband per se, which means no
13   person can have a cognizable legal interest in it.        See Gonzales
14   v. Raich, 545 U.S. 1, 27 (2005) (“The CSA designates marijuana as
15   contraband for any purpose.” (emphasis in original)).
16           “The Supremacy Clause unambiguously provides that if there
17   is any conflict between federal and state law, federal law shall
18   prevail.”    Id. at 29.   While California’s Compassionate Use Act
19   (“CUA”) provides narrow exceptions for marijuana use involving
20   qualified patients and care givers, federal law dictates that
21   marijuana is illegal for any purpose.      Id. at 27; see also County
22   of Butte v. Superior Court of Butte County, 175 Cal. App. 4th
23   729, 743 (Cal. Ct. App. 2009) (Morrison, J., dissenting) (“[T]he
24   CUA did not and could not vest a person with a true ‘right’ to
25   possess marijuana in derogation of the CSA as interpreted in
26   Raich.”).    Further, California courts have held that persons who
27   possess marijuana unlawfully, in violation of the CUA, retain no
28   /////

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 1   legal interest in the marijuana.        See Chavez v. Superior Court,
 2   123 Cal. App. 4th 104, 109–11 (Cal. Ct. App. 2004).
 3        In this case, plaintiff cannot recover damages as a result
 4   of the confiscation or destruction of marijuana because he had no
 5   cognizable property interest in the marijuana.        Plaintiff asserts
 6   a due process claim under the federal Constitution in federal
 7   court, where, under federal law, marijuana is undisputably
 8   illegal and contraband per se.     Furthermore, even under state
 9   law, plaintiff was not in lawful possession of the marijuana at
10   issue; indeed, two California state courts in two written
11   opinions held that plaintiff was not in lawful possession of the
12   marijuana.9   Accordingly, plaintiff had no legally protected
13   interest in the marijuana under state or federal law at any time.
14   As such, the complaint fails to set forth any cognizable harm to
15   plaintiff from the alleged destruction of the marijuana10 or the
16   alleged failure to list it on the inventory report.         Therefore,
17   defendants’ motion to dismiss this claim is GRANTED without leave
18   to amend.11
19
          9
               As noted, supra, the court has previously held that the
20   determination of whether plaintiff was in lawful possession of
     the marijuana under state law was actually litigated and
21   necessarily decided in a final judgment on the merits.
22        10
               Plaintiff also alleges that the destruction of the
     marijuana “precluded plaintiff from demonstrating he was in
23   lawful possession of the marijuana.” (Am. Compl. ¶ 33-2-e.) As
     set forth herein, plaintiff could not be in lawful possession of
24   marijuana under federal law. Further, plaintiff fails to allege
     any facts or raise any argument regarding how the destruction of
25   the marijuana precluded plaintiff from demonstrating he was in
     lawful possession under state law. Therefore, defendants’ motion
26   to dismiss this claim is GRANTED without leave to amend.
27        11
               Because the court finds that plaintiff has no
     constitutional standing to sue, it does not reach the issue of
28   whether plaintiff would have statutory standing to sue under Cal.

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 1   C.      Equal Protection Claim
 2           Lastly, plaintiff alleges a Section 1983 claim under the
 3   Equal Protection Clause.      Specifically, plaintiff alleges that
 4   defendants violated the Equal Protection Clause by “singl[ing]
 5   out plaintiff as a potential criminal defendant” and selectively
 6   enforcing Health and Safety Code sections against him and “others
 7   similarly situated.”      (Id. ¶ 33-5–13.)     Defendants contend that
 8   plaintiff’s complaint fails to allege facts sufficient to state a
 9   claim for violation of the Equal Protection Clause under Section
10   1983.
11           The Equal Protection Clause of the Fourteenth Amendment
12   provides that no State shall “deny to any person within its
13   jurisdiction the equal protection of the laws.”          U.S. Const.
14   Amdt. 14, § 1.     This is “essentially a direction that all
15   similarly situated persons should be treated alike.”           City of
16   Cleburne v. Cleburne Living Ctr., 437 U.S. 432, 439 (1985).              “The
17   purpose of the equal protection clause of the Fourteenth
18   Amendment is to secure every person within the State’s
19   jurisdiction against intentional and arbitrary discrimination,
20   whether occasioned by express terms of a statute or by its
21   improper execution through duly constituted agents.”           Sioux City
22   Bridge Co. v. Dakota County, 260 U.S. 441, 445 (1923); see
23   Williams v. Vidmar, 367 F. Supp. 2d 1265, 1270 (N.D. Cal. 2005)
24   (noting that the Equal Protection clause “is not a source of
25   substantive rights or liberties, but rather a right to be free
26
27
28   Health & Safety Code § 11473.5 and Cal. Penal Code § 1537.

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 1   from discrimination in statutory classifications and other
 2   governmental activity”).
 3           1.   Destruction of the Marijuana
 4           Plaintiff alleges that defendants unreasonably applied
 5   search and seizure statutes against him in violation of equal
 6   protection of the law.    Specifically, plaintiff asserts that
 7   defendant Bennett treated plaintiff differently than other
 8   members of the adult population by destroying the marijuana
 9   without court order.
10           As set forth above, plaintiff had no legally protectable
11   interest in the marijuana under either state or federal law.
12   Based on the allegations in the complaint, defendants searched
13   plaintiff’s property and seized the marijuana pursuant to a valid
14   search warrant.    Because plaintiff had no property interest in
15   the contraband, he suffered no injury as a result of any alleged
16   destruction of the marijuana.     See Barnum Timber Co., 633 F.3d at
17   897–98 (stating that without harm to a legally protected interest
18   there is no injury-in-fact).     Accordingly, defendants’ motion to
19   dismiss plaintiff’s Equal Protection claim arising out of the
20   destruction of marijuana is GRANTED without leave to amend.          See
21   Qwest Corp. v. City of Surprise, 434 F.3d 1176, 1180 (9th Cir.
22   2006) (finding that a plaintiff cannot sue in federal court when
23   there is no injury-in-fact).
24   /////
25   /////
26   /////
27   /////
28   /////

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 1        2.     Discriminatory Application: Class of One12
 2        Plaintiff also alleges that state laws “pertaining to
 3   possession, cultivation, distribution, and trafficking of
 4   controlled substances” were “discriminatorily applied to
 5   plaintiff [while] other property owners [were] allowed to use and
 6   enjoy their real property without Nevada County interference.”
 7   (Am. Compl. ¶ 33-10.)
 8        When an equal protection claim is premised on unique
 9   treatment, rather than on a classification, it is a class of one
10   claim.    See N. Pacifica LLC v. City of Pacifica, 526 F.3d 478,
11   486 (9th Cir. 2008).    “In order to claim a violation of equal
12   protection as a class of one case, the plaintiff must establish
13   that the City intentionally, and without rational basis, treated
14   the plaintiff differently from others similarly situated.”          Id.
15   Moreover, “[a] class of one plaintiff must show that the
16   discriminatory treatment ‘was intentionally directed just at him,
17   as opposed . . . to being an accident or a random act.’”         Id.
18   (internal quotations omitted).
19        In this case, plaintiff fails to allege any facts to support
20   intentional, discriminatory treatment by defendants that lacked a
21   rational basis.    First, defendant fails to allege facts
22   supporting intentional conduct directed solely at him.         Indeed,
23   while at one point in the complaint he conclusorily alleges that
24   defendants unlawfully singled him out, he later alleges that
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26        12
               Equal protection claims can be divided into two
     categories: “protected class” claims and “class of one” claims.
27   Based on plaintiff’s complaint, it is unclear which type of claim
     plaintiff is asserting. For the sake of completeness, the court
28   analyzes plaintiff’s claims under both theories.

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 1   defendants violated the rights of him “and others similarly
 2   situated.”    (Compare Am. Compl. ¶¶ 33-8, 33-10, with Am. Compl. ¶
 3   33-11.)13    Second, plaintiff fails to allege any facts to support
 4   that any such conduct was intentional, not the result of accident
 5   or random act.    Finally, plaintiff fails to allege any facts to
 6   support that any such disparate treatment lacked a rational
 7   basis.    Rather, defendants proffer a legitimate government
 8   interest rationally related to the disparate treatment of
 9   marijuana growers – namely, that marijuana is illegal under
10   federal law and only legal under state law if possession comports
11   with narrow statutory requirements.      Such an interest is
12   magnified with the amount of marijuana involved in this case.
13        Accordingly, plaintiff fails to allege an Equal Protection
14   claim as a class of one.    Further, because defendants have
15   proffered a rational basis for any differential treatment,
16   amendment would be futile.     Thus, defendant’s motion to dismiss
17   plaintiff’s class of one Equal Protection claim is GRANTED
18   without leave to amend.
19        3.      Selective Enforcement: Protected Class
20        Finally, plaintiff asserts that defendant’s conduct violate
21   the rights of plaintiff’s and “others similarly situated.”          (Am.
22   Compl. ¶ 33-11.)    In his opposition, plaintiff clarifies that
23   “others similarly situated” includes marijuana growers.         (Pl.’s
24   Opp’n [Docket #30], filed June 24, 2011, at 7) (“In short,
25   [Bennett’s] conduct deprived the plaintiff with the equal
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               As set forth, infra, such claims on behalf of similarly
28   situated marijuana growers also fail as a matter of law.

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 1   protection of the laws treating pot farmers differently from the
 2   remainder of the adult population . . . .”)
 3        A plaintiff asserting a protected class claim “must show
 4   that actions of the defendants had a discriminatory impact, and
 5   that defendants acted with an intent or purpose to discriminate
 6   based upon plaintiff’s membership in a protected class.”         Comm.
 7   Concerning Cmty. Improvement v. City of Modesto, 583 F.3d 690,
 8   702–03 (2009) (citing Lee v. City of Los Angeles, 250 F.3d 668,
 9   686–87 (2001)).    Because marijuana growers are not a protected
10   class, defendants need only show that their actions were
11   rationally related to a legitimate government interest.         See
12   Outdoor Media Group, Inc. v. City of Beaumont, 506 F.3d 895, 907
13   (9th Cir. 2007).
14        In this case, plaintiff has failed to state a claim based
15   upon the alleged differential treatment of marijuana growers.            To
16   the extent that plaintiff represents persons who unlawfully
17   possess marijuana under both federal and state law, such a class
18   is defined by its illegal activities; thus, a rational basis
19   exists for treating this class differently than others.
20   Alternatively, to the extent plaintiff purports to represent a
21   class of marijuana growers who lawfully possess marijuana under
22   state law, plaintiff has been held by two California courts in
23   two written orders to be excluded from such a class.         Finally, to
24   the extent such a class was treated differently, defendants have
25   proffered a legitimate government interest to which such
26   treatment was rationally related – namely, the narrow exception
27   to the general illegality of the possession of marijuana under
28   California law.

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 1        Accordingly, plaintiff fails to allege an Equal Protection
 2   claim as a member of a protected class.       Further, because
 3   defendants have proffered a rational basis for any differential
 4   treatment of marijuana growers, amendment would be futile.          Thus,
 5   defendant’s motion to dismiss plaintiff’s protected class Equal
 6   Protection claim is GRANTED without leave to amend.14
 7                                  CONCLUSION
 8        For the foregoing reasons, defendants’ motion to dismiss is
 9   GRANTED without leave to amend.
10        IT IS SO ORDERED.
11   DATED: July 19, 2011
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                                      FRANK C. DAMRELL, JR.
14                                    UNITED STATES DISTRICT JUDGE
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               Plaintiff’s claim for declaratory relief requires a
26   sufficient showing that he has stated a viable claim under one of
     his aforementioned theories of relief. Since the court grants
27   defendants’ motion to dismiss each of the underlying claims
     without leave to amend, plaintiff’s claim for declaratory relief
28   is likewise DISMISSED.

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